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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

ROTHSCHILD BROADCAST                               §
DISTRIBUTION SYSTEMS, LLC,                         §
                                                   § CIVIL ACTION NO. 2:17-CV-00205-RWS
                Plaintiff,                         § (LEAD)
                                                   §
v.                                                 §
                                                   §
BELKIN INTERNATIONAL, INC.,                        §
                                                   §
     .          Defendant.                         §

                                        FINAL JUDGMENT

         The Court recently granted Defendant Belkin International, Inc.’s Unopposed Motion to

Dismiss (Docket No. 17). As Belkin was the last remaining Defendant in this consolidated

action, it is hereby ORDRED, ADJUDGED and DECREED that Plaintiff Rothschild

Broadcast Distribution Systems, LLC’s claims are DISMISSED without prejudice.

         The Clerk of the Court is directed to close this case.

         So ORDERED and SIGNED this 7th day of July, 2017.




                                                             ____________________________________
                                                             ROBERT W. SCHROEDER III
                                                             UNITED STATES DISTRICT JUDGE
